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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION
  BYRON WENDELL PHILLIPS,                      *
                                               *
         Plaintiff,                            *
                                               *
  v.                                           * CIVIL ACTION FILE
                                               *
  THE LIFE PROPERTY                            * NO. 1:20-cv-0812-SDG
  MANAGEMENT SERVICES, LLC,                    *
  et al.                                       *
                                               *
         Defendants.                           *
       DEFENDANT TONYA CARTER’S MEMORANDUM OF LAW IN
               SUPPORT OF ITS MOTION TO DISMISS

        COMES NOW Tonya Carter (hereinafter “Defendant Carter” or “this

 Defendant”), pursuant to Local Rule 7.1A, and hereby files this memorandum of

 law in support of her Motion to Dismiss Plaintiff’s Amended Complaint [Doc.

 18]. Defendant Carter respectfully shows the Court as follows:

                                 INTRODUCTION

       This is a purported civil rights action arising under 42 U.S.C. § 1983.

Plaintiff, a so-called sovereign citizen, is seeking to recover $138,947,989.74 for

an alleged deprivation of his “constitutional right to choose; right to be secure in

effects from unreasonable seizure; right to due process; right to equal protection of

the law; right to life; right to liberty; [and] right to property” based on his 1997

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Ford Ranger being towed from the parking lot of his apartment complex. (See Am.

Compl. [Doc. 18] ¶¶ 2, 4.7.) As it relates to this Defendant, Plaintiff alleges

Defendant Carter, as the management staff and “Agent for The Life Property

Management Services,” participated in the seizure of the vehicle by determining

which vehicles in the apartment complex were subject to being towed from the

premises. (Id. ¶ 4b.) Plaintiff describes the towing of his vehicle as conversion.

(Id.) Plaintiff signed a residential lease with Defendant The Life Property

Management Services, LLC, which specified that vehicles without current license

plates or current inspection stickers were subject to being towed from the

property. (Id. ¶ 4a., Ex. A.) Notably, Plaintiff also alleges that he surrendered his

license plate to the state on April 21, 2017. (Id. ¶ 8, Ex. D.) His vehicle was towed

on March 5, 2018. (Id. ¶ 4.7.)

      Plaintiff’s Amended Complaint should be dismissed on several grounds. As

a preliminary matter, Defendant Carter has not been served (and the Court

consequently cannot exercise personal jurisdiction over Defendant Carter).

Plaintiff filed an “Affidavit of Service” [Doc. 26] indicating that he “served”

Defendant Carter “via deposit in the U.S. Mail.” Plaintiff also filed an “Affidavit in

Support of Request for Entry of Default” against Defendant Carter [Doc. 57]

contending that service was made on this Defendant on August 11, 2020. However,

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Plaintiff failed to properly serve Defendant Carter in accordance with Rule 4(e) of

the Federal Rules of Civil Procedure. First, perfecting service by mail is

impermissible here. Second, Plaintiff admits that Defendant Carter did not waive

service per his own Affidavit of Service and Good Cause Request [Doc. 44]. Third,

Plaintiff is not permitted to perfect service himself, as he is a party to this action.

Finally, Plaintiff’s “Affidavits of Service” are not actual notarized affidavits and

are therefore self-serving and invalid “proofs of service.” As such, Plaintiff has

failed to comply with Federal Rule of Civil Procedure 4(m) and this Court’s Order

of June 22, 2020 [Doc. 22] requiring Plaintiff to properly serve all Defendants no

later than July 24, 2020, and dismissal is therefore proper for lack of service.

      Notwithstanding the foregoing, as it relates to the merits of the action,

Plaintiff has simply failed to state a claim against Defendant Carter under section

1983. Section 1983 is not the proper vehicle to vindicate what Plaintiff himself

claims is, at most, simply conversion. Not every “deprivation” amounts to a federal

case. Plaintiff has an adequate state remedy for the alleged deprivation of his

vehicle, i.e., a tort action for conversion. Plaintiff’s claim under section 1983 is,

therefore, precluded. Moreover, Plaintiff’s claim against Defendant Carter must

fail because Defendant Carter is not a state actor and cannot be held liable under

section 1983 for the actions of the person who towed Plaintiff’s vehicle. The Court

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should accordingly dismiss Plaintiff’s Amended Complaint for insufficient service

of process1 (and consequently lack of personal jurisdiction) and for failure to state

a claim.

                         STATEMENT OF THE FACTS

      Accepting the allegations of Plaintiff’s Amended Complaint as true, as the

Court must at the motion to dismiss stage, Plaintiff surrendered the license plate

for his 1997 Ford Ranger to the Motor Vehicle Division of the DeKalb County

Tag Office on April 21, 2017. (Am. Compl. ¶ 8, Ex. D.) Presumably, Plaintiff’s

vehicle remained without a license plate following its being surrendered to DeKalb

County.2 Plaintiff’s residential lease contract authorized Defendant Life Property

to remove unauthorized or illegally parked vehicles from the apartment

community at Plaintiff’s expense. (Id. ¶ 4a, Ex. A.) The lease listed vehicles

without current license plates or inspection stickers as unauthorized vehicles. (Id.)

On March 5, 2018, Plaintiff’s vehicle was towed by Defendant Quick Drop (Id. ¶


1
  Dismissal is also proper because Plaintiff failed to comply with this Court’s
Order of June 22, 2020 [Doc. 22] requiring Plaintiff to properly serve all
Defendants no later than July 24, 2020.
2
  Prior to surrendering his state-issued license plate, Plaintiff, a sovereign citizen,
purchased a “private plate” as an alternative to a state-issued license plate from
the so-called United States of America Department of Travel. (Am. Compl. ¶ 7.)
That “private plate” was seized by the Villa Rica Police Department on February
21, 2017. (Id.)

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4.7.)

        Plaintiff filed the instant action on February 21, 2020, to recover for his

vehicle being towed. On June 22, 2020, the Court entered an Order [Doc. 22]

instructing Plaintiff that he was required to serve the defendants by May 21, 2020,

pursuant to Rule 4(m) of the Federal Rules of Civil Procedure. (See Doc. 22.) The

Court further ordered Plaintiff to “properly serve all Defendants with the Amended

Complaint no later than July 24, 2020” and to file proofs of service within 7 days

after service was effectuated. (Id.) (emphasis added). The Court warned Plaintiff

that failure to serve the defendants could result in dismissal of the action. (Id.)

        On July 22, 2020, Plaintiff filed a Summons [Doc. 25] to Defendant Carter

“c/o Sharonda Gray or Other Authorized Agent for The Life Property Management

Services, LLC 2853 Henderson Mill Rd. Stone Mountain, Georgia 30083.” (See

Doc. 25.) Plaintiff filed a purported Affidavit of Service [Doc. 26] on July 30,

2020. In that Affidavit, Plaintiff states that “I . . . certify that on the 15 th day of

July, 2020 a true and correct copy of the Amended Complaint was served, at the

last known mailing address, upon . . . (2) Tonya Carter . . . via deposit in the U.S.

Mail.” (Id. at 1.) (emphasis added). Then, on September 11, 2020, Plaintiff filed an

Affidavit of Service and Good Cause Request [Doc. 44], stating as follows:

           I, byron-wendell: phillips, certify that on the 11th day of August,
           2020 a true and correct copy of the Summons, Notice of a Lawsuit
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          and Request to Waive Service of a Summons, 2 copies of the
          Waiver of the Service of Summons, a prepaid means of returning
          the Waiver of the Service of Summons, and a Copy of Appendix B
          Pretrial Forms was served upon Tonya Carter along with The Life
          Property Management Services, LLC (The Life). On 8/11/2020, a
          summons was reissued to the address where The Life was
          contacted. The 30-day period for Tonya Carter to return a signed
          Waiver or answer by Motion expired on 9/10/2020.

(See Doc. 44 at 1.) On December 14, 2020, Plaintiff filed a Request for Entry of

Default against Defendant Carter [Doc. 57] and attached his “Affidavit” in support

of the request. (See Doc. 57.) In the “Affidavit,” Plaintiff contends that Defendant

Carter was served on August 11, 2020. (Id. at 2.)

               ARGUMENT AND CITATION OF AUTHORITY

   A. Plaintiff’s action should be dismissed for insufficient service of process
      because Plaintiff failed to perfect service upon Defendant Carter.
      First, Plaintiff has failed to effectuate service on Defendant Carter and

therefore, Plaintiff’s Amended Complaint against Defendant Carter should be

dismissed accordingly.

      “Service of process is a jurisdictional requirement: a court lacks jurisdiction

over the person of a defendant when that defendant has not been served.” See

Nasrallah v. Chick-fil-A Piedmont Rd., 2017 U.S. Dist. LEXIS 77479, *4 (N.D. Ga.

January 3, 2017). And “[a] court without personal jurisdiction is powerless to take

further action.” Id. Therefore, “[a]s a general rule, courts address issues relating to


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personal jurisdiction before reaching the merits of [a] plaintiff's claims[ ] . . . because

a defendant not subject to the court’s jurisdiction cannot be bound by its rulings.”

Id. (internal citations omitted).

      Service of process of an individual within the United States is governed by

Rule 4(e) of the Federal Rules of Civil Procedure. See Fed. R. Civ. P. 4(e). Rule

4(e)(1) permits a plaintiff to carry out service in a way that complies with the law

of either the state in which the federal district court sits, or in the state in which the

plaintiff attempted to serve the defendant. In the case at bar, the state is Georgia.

Georgia’s service of process statute for individuals mirrors the service methods set

forth in Rule 4(e)(2). See King v. Marcy, 2019 U.S. Dist. LEXIS 26059, Case No.

2:17-CV-112, at *13-14 (S.D. Ga. Feb. 19, 2019). Pursuant to Rule 4(e)(2), a

plaintiff can serve a defendant by: (1) delivering a copy of the summons and

complaint to the defendant personally; (2) leaving the copies at the defendant's

dwelling or usual place of abode with someone of suitable age and discretion who

lives there; or (3) delivering copies to an agent authorized by appointment or by

law to receive service of process. See Fed. R. Civ. P. 4(e)(2); O.C.G.A. § 9-11-

4(e)(7).



      Here, Plaintiff contends that Defendant Carter was served by mail on August

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11, 2020. (See Doc. 44; Doc. 57.) Yet, “the Federal Rules do not authorize service

by U.S. Mail.” Walker v. Firestone, 2008 U.S. Dist. LEXIS 52884, Case No. 07-

CV-0105-RWS at *6 (N.D. Ga. July 11, 2008). Further, Defendant Carter was not

served by delivery of a copy of the Summons and Complaint to Defendant Carter

personally. See Fed. R. Civ. P. 4(e)(2)(A). Defendant Carter was not served by

leaving a copy of the Summons and Complaint at her dwelling or usual place of

abode with someone of suitable age and discretion who resides there. See Fed. R.

Civ. P. 4(e)(2)(B). Defendant Carter was not served by delivering copies to her

agent authorized by appointment or by law to receive service of process on her

behalf. See Fed. R. Civ. P. 4(e)(2)(C). Plaintiff contends he served Defendant

Carter by delivering a copy of the Summons and Compliant “c/o Sharonda Gray or

Other Authorized Agent for The Life Property Management Services, LLC 2853

Henderson Mill Rd. Stone Mountain, Georgia 30083.” (See Doc. 25.) Yet,

Sharonda Gray and/or The Life Property Management Services are not Defendant

Carter’s appointed agent authorized to receive service on her behalf. Further, Rule

4(e) and O.C.G.A. § 9-11-4 do not provide for service by “leaving a copy [of the

summons and complaint] at [an] individual's usual place of business or with the

individual's employer.” Melton v. Wiley, 262 F. App'x 921, 923 (11th Cir. 2008)

(per curiam); see also Commercial Union Ins. Co. v. Gibson, 210 Ga. App. 823,

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437 S.E.2d 808, 808 (1993). Plaintiff even admits in his Amended Complaint that

Defendant Carter’s “[c]urrent employment status with The Life Property

Management Services, LLC is uncertain.” (See Doc. 18 at ¶ 3(b).) As such,

Plaintiff’s purported service of Defendant Carter does not satisfy Rule 4(e)(2)’s

requirement for personal service.3

         Moreover, a party is not permitted to perfect service under Rule 4. As such,

any attempt by Plaintiff to perfect service himself—even attempts to perfect service

by mail—would necessarily invalidate the service. See Fed. R. Civ. P. 4(e)(2)(C).

         Additionally, Plaintiff’s request to Defendant Carter to waive service does

not satisfy Plaintiff’s obligation to perfect service under Rule 4. Defendant Carter

did not waive personal service. See Madden v. Cleland, 105 F.R.D. 520 (N.D. Ga.

1985) (holding that service of summons and complaint by certified mail is not

permissible method of service if defendants have not waived personal service).

While a plaintiff has the option of requesting that a defendant waive service, the

plaintiff must first actually obtain and file the executed waiver of service from the

defendant in order to satisfy the rule. Plaintiff has not done so here.



         The Eleventh Circuit has explained as follows:


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    A defendant’s actual notice of the lawsuit does not cure defective service. See Lau
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         While the individual defendants are subject to the waiver procedure, the
         individual defendants did not respond to the plaintiff’s request for
         waiver of service, and the defendant is not required to waive formal
         service. We have held that if the defendant fails to respond to service
         by mail, the plaintiff must effect personal service pursuant to Rule 4(e).

Lepone-Dempsey v. Carroll County Comm’rs, 476 F.3d 1277, 1281 (11th Cir.

2007) (emphasis added). As noted in Dyer v. Wal-Mart Stores, Inc., 318 Fed.

Appx. 843, 844 (11th Cir. 2009), when the defendant does not agree to waive

service, simply complying with Rule 4(d)’s mailing procedure is not enough to

show that service has been waived. In Dyer, the pro se plaintiff sent the copy of the

summons and complaint to her former employer, Wal-Mart, by certified mail.

Dyer, 318 Fed.Appx. at 843. The plaintiff failed to personally serve Wal-Mart or to

file a signed waiver of service. Id. at 844. Wal-Mart had not waived service. Id. In

affirming the dismissal of the plaintiff’s complaint under Rule 4(m), the Eleventh

Circuit noted that mailing a copy is all that is required if the defendant has agreed

to waive service. Id. at 844 (“If the defendant agrees to waive service . . . the

plaintiff need only mail a copy of the complaint to the defendant. Fed. R. Civ. P.

4(d)”). The Court went on to note, however, that because Wal-Mart had not waived

service, dismissal of the plaintiff’s complaint was appropriate.

      Similar to Dyer, the pro se Plaintiff in the instant matter attempted to mail


v. Klinger, 46 F. Supp.2d 1377, 1381 (S.D. Ga. 1999).
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requests to waive service to Defendant Carter. Just like in Dyer, where the

defendant, Wal-Mart, did not waive service, Defendant Carter has not waived

service. Defendant Carter’s failure to “respond” to Plaintiff’s requested waiver of

service of summons does not constitute service.

      It bears noting that Plaintiff has filed “Affidavits” in support of his purported

service on Defendant Carter. However, such “Affidavits” are not proper affidavits

under law. Plaintiff signs the Affidavits as a “sovereign principal, non-negotiable

autograph, all rights served sui juris.” [Doc. 44]. In anticipation of Plaintiff’s

argument that he has authority to sign as a “sovereign citizen,” the “sovereign

citizen” theory has been repeatedly rejected by federal courts as baseless and

frivolous. See Mells v. Loncon, 2019 U.S. Dist. LEXIS 49572, No. CV418-296 at

*3-4 (S.D. Ga. Feb. 27, 2019); see also United States v. Sterling, 738 F.3d 228,

233 n. 1 (11th Cir. 2013); Linge v. State of Georgia Inc., 569 F.App’x 895, 896

(11th Cir. 2014); Roach v. Arrisi, 2016 U.S. Dist. LEXIS 189902, 2016 WL

8943290 at *2 (M.D. Fla. 2016). Further, there is no indication that Plaintiff has

been appointed as a notary public in Georgia pursuant to O.C.G.A. § 45-17-1, et

seq. Even if he were an appointed notary public, it is still impermissible for

Plaintiff to notarize his own “Affidavits of Service.” See O.C.G.A. § 45-17-8(c)

(“A notary shall be disqualified from performing a notarial act in the following

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situations which impugn and compromise the notary's impartiality: [w]hen the

notary is a signer of the document which is to be notarized.”) Therefore, Plaintiff’s

“Affidavits” are self-serving and invalid.

      Rule 4(m) requires a Plaintiff to perfect service within 90 days of the

complaint’s filing, or risk dismissal. See Fed. R. Civ. P. 4(m). Plaintiff’s Complaint

was filed on February 21, 2020. On June 22, 2020—122 days following the

Complaint’s filing—the Court granted Plaintiff an additional month to perfect

service and warned Plaintiff that dismissal could result if Plaintiff failed to comply

with the service requirements of Rule 4. (See Doc. 22.) To date, Defendant

Carter still has not been served.

   B. Because Georgia law provides an adequate remedy for Plaintiff’s
      alleged property deprivation, Plaintiff cannot state a claim under
      section 1983.

      Notwithstanding the lack of service on Defendant Carter, this action should

nonetheless be dismissed under Rule 12(b)(6) for Plaintiff’s failure to state a claim

under section 1983 as Georgia law provides an adequate remedy in tort. Plaintiff

brings this action under section 1983 seeking redress for a perceived violation of

his constitutional rights as a result of his vehicle being towed from his apartment

complex’s parking lot.     But not every perceived deprivation of property can

breathe life into a federal lawsuit. Plaintiff aptly describes the towing of his

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vehicle as conversion. (See Am. Compl. ¶ 4a.) Georgia law sufficiently provides

relief to any person seeking redress for conversion. As the Eleventh Circuit has

explained, the seizure and retention of an individual’s personal property does not

give rise to liability under section 1983 “if a meaningful post- deprivation remedy

for the loss is available.” See, e.g., Lindsey v. Storey, 936 F.2d 554, 561 (11th Cir.

1991); see also Allen v. Peal, 2012 U.S. Dist. LEXIS 97150, at *8 (S.D. Ga. June

18, 2012). Where state law provides an adequate post-deprivation remedy for the

loss of personal property, a section 1983 due process claim will not lie. Lindsey v.

Storey, 936 F.2d at 561.

      In Georgia, a property owner has a cause of action to recover the loss of his

personal property. See O.C.G.A. § 51-10-1 (“The owner of personalty is entitled to

its possession. Any deprivation of such possession is a tort for which an action

lies.”). Plaintiff therefore had an adequate remedy under state law by which to seek

redress for the alleged wrongful towing of his vehicle. As such, this section 1983

action must be dismissed. Plaintiff cannot state a claim under section 1983.

   C. Plaintiff cannot state a claim for relief under section 1983 because
      Defendant Carter is not a state actor.

      Plaintiff has failed to—and cannot—sufficiently allege facts showing that

Defendant Carter acted under color of state law. To sustain a cause of action

under section 1983, a plaintiff must establish: (1) that he or she suffered a
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deprivation of rights, privileges, or immunities secured by the Constitution or

laws of the United States; and (2) that the act or omission causing the deprivation

was committed by a person acting under color of law. See Jackson v. Knight, 2006

U.S. Dist. LEXIS 103328, at *12-13 (M.D. Fla. Oct. 24, 2006) (citing Wideman

v. Shallowford Cmty. Hosp., Inc., 826 F.2d 1030, 1032 (11th Cir. 1987)). The

traditional definition of acting under      color of state law requires that the

defendant in a section 1983 action have exercised power “possessed by virtue of

state law and made possible only because the wrongdoer is clothed with the

authority of state law.” Id. (citing West v. Atkins, 487 U.S. 42, 49, (1988) (quoting

United States v. Classic, 313 U.S. 299, 326 (1941))). Section 1983 excludes from

its reach merely private conduct, no matter how discriminatory or wrongful. See

Focus on the Family v. Pinellas Suncoast Transit Auth., 344 F.3d 1263, 1277

(11th Cir. 2003). Section 1983 excludes from its reach merely private conduct, no

matter how discriminatory or wrongful. See Focus on the Family v. Pinellas

Suncoast Transit Auth., 344 F.3d 1263, 1277 (11th Cir. 2003).

      Here, Plaintiff cannot plausibly contend that Defendant Carter acted under

color of state law. Defendant Carter is a private individual who was allegedly

employed by the private management company at the private apartment complex

where Plaintiff resided. As noted, Plaintiff’s residential lease agreement provided

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for the towing of certain vehicles from the apartment complex. (See Am. Compl. ¶

4a., Ex. A.) There are limited circumstances when section 1983 claims can be

invoked against “private individuals who exercise government power” and qualify

as a state actor. See, e.g., Payton v. Rush-Presbyterian St. Luke’s Med. Ctr., 184

F.3d 623, 628 (7th Cir. 1999). And even in cases where the state regulates a

private party—which is not the case here—the mere fact that a state regulates a

private party is not sufficient to make that party a state actor. See, e.g., Rayburn v.

Hogue, 241 F.3d 1341, 1348 (11th Cir. 2001).

      The Eleventh Circuit utilizes three tests to determine whether the actions of

a private individual or entity are attributable to the state: (1) the public function

test, (2) the state compulsion test, and (3) the nexus/joint actions test. Focus on the

Family, 344 F.3d at 1277. The public function test limits state action to instances

where private actors are performing functions “traditionally the exclusive

prerogative of the state.” Id. The state compulsion test limits state action to

instances where the government “has coerced or at least significantly encouraged

the action alleged to violate the Constitution.” Id. The nexus/joint action test

applies where “the state has so far insinuated itself into a position of

interdependence with the [private party] that it was a joint participant in the

enterprise.” Id. Defendant Carter’s actions, as alleged, do not implicate any of

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these tests. Defendant Carter is a private individual employed by the private

management company who allegedly had Plaintiff’s vehicle towed from the

apartment complex— in accordance with Plaintiff’s lease—because it did not

display a license plate, after Plaintiff surrendered it to DeKalb County. The state

does not enforce private parking restrictions on private property. The state was not

involved in the towing of the vehicle and did not encourage it. And the state

certainly was not a joint participant or in a position of interdependence with

Defendant Carter.

      In Sauls v. Royal Am. Management, the plaintiff’s complaint against a

private property management company was dismissed for failure to plausibly

allege facts showing that it was a state actor at the time of the alleged removal of

plaintiff’s vehicle when it was thought to be an abandoned vehicle. 1995 U.S. Dist.

LEXIS 18251 at *2-5 (E.D. N.C. Nov. 17. 1995). There, the property management

company’s employee contacted a private towing company and directed the towing

company to remove the plaintiff’s vehicle. Id. at *5. The District Court held that

the plaintiff failed to state a claim under section 1983 against the property

management company because “[t]hese acts were not done at the request of state

actors; state actors did not assist [the management company] or [the proprietor of

the towing company] in the towing of the vehicle; [and] the state did not delegate

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any such authority to [the management company] or [the proprietor of the towing

company].” Id; see also Wilson v. Dollar-Thrifty Auto Grp.-S. Fla Transp., 286 F.

App’x 640, 642 (11th Cir. 2008). The Sauls holding is therefore applicable to

Defendant Carter as the management staff and “Agent for The Life Property

Management Services,” a private property management company.

      Plaintiff has not plausibly alleged any facts showing that Defendant Carter

was a state actor. Plaintiff’s claims against Defendant Carter must therefore be

dismissed for failure to state a claim.

   D. Plaintiff’s claims under the “sovereign citizen” theory should be
      dismissed.

      Plaintiff’s claims as a “sovereign citizen” should be dismissed because the

“sovereign citizen” theory has been repeatedly rejected by federal courts as

baseless and frivolous. See Mells v. Loncon, 2019 U.S. Dist. LEXIS 49572, No.

CV418-296 at *3-4 (S.D. Ga. Feb. 27, 2019); see also United States v. Sterling,

738 F.3d 228, 233 n. 1 (11th Cir. 2013) (stating that courts routinely reject

sovereign citizen legal theories as “frivolous”) (citing United States v. Benabe,

654 F.3d 753, 761-67 (7th Cir. 2011) (recommending that sovereign citizen

theories “be rejected summarily, however they are presented”)); Linge v. State of

Georgia Inc., 569 F. App’x 895, 896 (11th Cir. 2014) (rejecting such theories as


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“wholly unsubstantial and frivolous”); Roach v. Arrisi, 2016 U.S. Dist. LEXIS

189902, 2016 WL 8943290 at *2 (M.D. Fla. 2016) (noting that sovereign citizen

theories have not only been consistently rejected by the courts, but they have been

described as “utterly frivolous,” “patently ludicrous,” and “a waste of . . . the

court’s time, which is being paid for by hard-earned tax dollars”) (citation

omitted).

   E. Pro Se Plaintiff is not insulated from his failure to comply with the
      Federal Rules of Civil Procedure.

      Finally, while a complaint filed by a pro se Plaintiff is to be “‘liberally

construed’ and ‘held to less stringent standards,’” “this leniency does not give a

court license to serve as de facto counsel for a party, or to rewrite an otherwise

deficient pleading in order to sustain an action." Novero v. Duke Energy, 753 F.

App'x 759, 765 (11th Cir. 2018). See Nelson v. Barden, 145 F. App’x 303, 311

(11th Cir. 2005) (“A litigant’s pro se status does not excuse mistakes he makes

regarding procedural rules.”) This Court’s Standing Order Regarding Civil

Litigation [Doc. 17] similarly provides that “[p]arties proceeding pro se (without

an attorney) must comply with the Federal Rules of Civil Procedure (“Fed. R. Civ.

P.” as well as the Court’s Local Rules (“LR, NDGa”). As such, Plaintiff’s pro se

status does not insulate him from complying with procedural requirements, as well


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as his failure to state a claim against Defendant Carter.

                                   CONCLUSION

      Based on the above-cited authority, Defendant Carter respectfully requests

that the Court dismiss Plaintiff’s Amended Complaint due to Plaintiff’s failure to

properly serve Defendant, a lack of personal jurisdiction, and for Plaintiff’s failure

to state a claim.

      This 16th day of December, 2020.

                                        Respectfully submitted,

                                        SWIFT, CURRIE, McGHEE & HIERS

                                        /s/ Kelly G. Chartash
                                        Melissa A. Segel
                                        Georgia Bar No. 020406
                                        Kelly G. Chartash
                                        Georgia Bar No. 602721
                                        Gerond J. Lawrence
                                        Georgia Bar No. 961369
                                        Attorneys for Defendants The Life Property
                                        Management        Services, LLC,     3321
                                        Peppertree Circle Decatur LLC, and Tonya
                                        Carter
Suite 300 – The Peachtree
1355 Peachtree Street, NE
Atlanta, GA 30309
OFF: (404) 874-8800
FAX: (404) 888-6199
Melissa.segel@swiftcurrie.com
kelly.chartash@swiftcurrie.com
gerond.lawrence@swiftcurrie.com

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                   LOCAL RULE 5.1C CERTIFICATION

      By signature below, counsel certifies that the foregoing pleading was

prepared in Times New Roman, 14-point font in compliance with Local Rule 5.1C.

      This 16th day of December, 2020.

                                    Respectfully submitted,

                                    SWIFT, CURRIE, McGHEE & HIERS

                                    /s/ Kelly G. Chartash
                                    Melissa A. Segel
                                    Georgia Bar No. 020406
                                    Kelly G. Chartash
                                    Georgia Bar No. 602721
                                    Gerond J. Lawrence
                                    Georgia Bar No. 961369
                                    Attorneys for Defendants The Life Property
                                    Management        Services, LLC,     3321
                                    Peppertree Circle Decatur LLC, and Tonya
                                    Carter

Suite 300 – The Peachtree
1355 Peachtree Street, NE
Atlanta, GA 30309
OFF: (404) 874-8800
FAX: (404) 888-6199
Melissa.segel@swiftcurrie.com
kelly.chartash@swiftcurrie.com
gerond.lawrence@swiftcurrie.com




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                        CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing DEFENDANT

TONYA CARTER’S MEMORANDUM OF LAW IN SUPPORT OF ITS

MOTION TO DISMISS by e-filing same using the CM/ECF e-filing system

which will automatically send notification of said filing to the following

attorneys and parties of record:

      Byron-Wendell: Phillips                      Laura K. Johnson
   3308 Peppertree Circle, Apt. D               Nikisha L. McDonald
        Decatur, GA 33034                          Omari J. Crawford
      Hip123456@yahoo.com                   Dekalb County Law Department
         Pro Se Plaintiff                   1300 Commerce Drive, 5th Floor
                                                  Decatur, GA 30030
                                            lkjohnson@dekalbcountyga.gov
                                           nmcdonald@dekalbcountyga.gov
                                           ojcrawford@dekalbcountyga.gov
                                           Attorneys for Defendants DeKalb
                                               County and Officer Harris




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OFF: (404) 874-8800
FAX: (404) 888-6199
Melissa.segel@swiftcurrie.com
kelly.chartash@swiftcurrie.com
gerond.lawrence@swiftcurrie.com
4830-2716-7188, v. 1




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